     2:18-mn-02873-RMG         Date Filed 08/24/22     Entry Number 2559     Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                                )
 IN RE: AQUEOUS FILM-FORMING                    )   MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                       )
 LITIGATION                                     )   ORDER
                                                )
                                                )   This Order Relates to
                                                )   Case No. 2:22-cv-02593-RMG
                                                )
                                                )
                                                )


       Before the Court is Defendants Iselin Fire Department #9 and Iselin Fire Department #11

(the “Moving Defendants”)’s motion to remand this case to the Superior Court of New Jersey.

(Dkt. No. 2524). For the reasons set forth below, the motion is denied.

I.     Background

       On March 24, 2022, in the Superior Court of New Jersey, Plaintiff Insurance Auto

Auctions, Inc. (“IAA”) sued Carteret Fire Department, Hopelawn Fire Department, Iselin Fire

Department # 11, Iselin Fire Department # 9, Perth Amboy Fire Department, Port Reading Fire

Department, South Amboy Fire Department, Sayreville Fire Department, Fords Fire Department,

Metuchen Fire Department, Middlesex County Fire Marshal, State of New Jersey, National Foam

Inc. (“National Foam”), John Does 1-99, ABC Corporations 1-99, and Public ABC Public Entities.

IAA alleges that a fire occurred on premises leased by it on March 26, 2020 and that National

Foam’s Universal Gold Fire Fighting Foam (“Gold Foam”) was used to put out the fire. IAA

alleges its groundwater was contaminated by perfluorooctane sulfonic acid/perfluorooctane

sulfonate and perfluorooctanoic acid/perfluorooctanoate (“PFOS/PFOA”) substances present in
       2:18-mn-02873-RMG        Date Filed 08/24/22       Entry Number 2559          Page 2 of 5




the Gold Foam. (2:22-cv-2593-RMG, Dkt. No. 1-1 ¶¶ 16-61.) IAA brought ten causes of action,

including five against National Foam. (Id. Counts One, Two Three, Five and Nine.)

         On April 8, 2022, National Foam removed removed the action to the District Court for the

District of New Jersey on the basis of, inter alia, the federal officer removal statute, 28 U.S.C. §

1442(a)(1). (2:22-cv-02593-RMG, Dkt. No. 1.)           On April 19, 2022, the Judicial Panel on

Multidistrict Litigation entered a Conditional Transfer Order regarding the transfer of this case

into these multidistrict litigation proceedings. See (2:22-cv-02593-RMG, Dkt. No. 19-1 at 7). On

May 19, 2022, the Moving Defendants filed the instant motion to remand. (2:22-cv-02593-RMG,

Dkt. No. 19). On August 8, 2022, the JPML entered a Transfer Order, denying the Moving

Defendants’ motion to vacate the conditional transfer order. (2:22-cv-02593-RMG, Dkt. No. 42).

II.      Legal Standard

         As the party that invoked federal jurisdiction, National Foam bears the burden of

establishing that the case was properly removed from state court. Mulcahey v. Columbia Organic

Chem. Co., 29 F.3d 148, 151 (4th Cir. 1994); see also Bennett v. Bally Mfg. Corp., 785 F. Supp.

559, 560 (D.S.C. 1992). The Court should strictly construe removal jurisdiction because it “raises

significant federalism concerns.” Mulcahey, 29 F.3d at 151 (citing Shamrock Oil & Gas Corp. v.

Sheets, 313 U.S. 100 (1941)); see also S.C. v. Boehringer Ingelheim Roxane, Inc., No. 3:07-cv-

00665-CMC, 2007 WL 1232156, at *1 (D.S.C. Apr. 26, 2007). Doubts as to the Court’s

jurisdiction should weigh in favor of remanding to state court. Mulcahey, 29 F.3d at 151.

III.     Discussion

         The federal officer removal statute authorizes removal to federal court of any civil action

or criminal prosecution commenced in state court against “any officer (or any person acting under

that officer) of the United States or of any agency thereof, in an official or individual capacity, for



                                                  2
    2:18-mn-02873-RMG           Date Filed 08/24/22       Entry Number 2559          Page 3 of 5




or relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1). Thus, a private

defendant, such as a government contractor, who seeks to remove a case under § 1441(a)(1) must

show (1) that it was a “person acting under” a federal officer, see e.g., Watson v. Philip Morris

Cos., 551 U.S. 142, 147 (2007); Ripley v. Foster Wheeler LLC, 841 F.3d 207, 209 (4th Cir. 2016);

(2) that it has a “colorable federal defense,” Jefferson Cnty. v. Acker, 527 U.S. 423, 431 (1999);

and (3) that the charged conduct was carried out for or in relation to the asserted official authority,

see 28 U.S.C. § 1442(a)(1). “In imposing these requirements, the statute aims to protect the

Federal Government from interference with its ‘operations,’ primarily by providing ‘a federal

forum for a federal defense.’” Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 254 (4th Cir. 2017)

(quoting Watson, 551 U.S. at 147).

       National Foam is a “person” under § 1442(a)(1), which includes “companies, associations,

firms [and] partnerships.” Papp v. Fore-Kast Sales Co., 842 F.3d 805, 812 (3d Cir. 2016). The

phrase “acting under” is “broad” and should be “liberally construed” in favor of the removing

Defendant. Watson, 551 U.S. at 147. When a private entity is involved, the phrase “acting under”

is interpreted to “contemplate a relationship where the government exerts some ‘subjection,

guidance, or control.’” Sawyer, 860 F.3d at 255 (quoting Watson, 551 U.S. at 151). “[C]ourts have

unhesitatingly treated the ‘acting under’ requirement as satisfied where a contractor seeks to

remove a case involving injuries arising from equipment that it manufactured for the government.”

Sawyer, 860 F.3d at 255 (emphasis in original).            Designing AFFF products to military

specifications promulgated by the Department of Defense, including that the products contain the

chemical class to which PFOS/PFOA belong, as National Foam alleges, may constitute “acting

under” the military’s guidance. The Court should reject a “narrow, grudging interpretation of the

[federal officer removal] statute, recognizing that one of the most important reasons for removal



                                                  3
    2:18-mn-02873-RMG           Date Filed 08/24/22       Entry Number 2559         Page 4 of 5




is to have the validity of the defense of official immunity tried in federal court.” Acker, 527 U.S.

at 431.

          Second, and relatedly, National Foam has a “colorable” federal defense of government

contractor immunity—a fact even the Moving Defendants admit. See (2:22-cv-02593-RMG, Dkt.

No. 40 at 2) (“As to National Foam’s federal officer defense and removal, the [Moving

Defendants] have no substantive information to contradict the facts presented in support of

National Foam’s position on these issues.”). To assert government contractor immunity to tort

liability, National Foam must demonstrate that “(1) the United States approved reasonably precise

specifications; (2) the equipment conformed to those specifications; and (3) the supplier warned

the United States about the dangers in the use of the equipment that were known to the supplier

but not to the United States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512 (1988). “Removal

need not be justified as to all claims asserted in the plaintiffs’ complaint; rather, the defense need

only apply to one claim to remove the case.” Sawyer, 860 F.3d at 257.                National Foam

demonstrates a colorable defense where it contends that the AFFF products were manufactured

according to MilSpec, which included specifications for the chemical class that includes

PFOS/PFOA.        The defense need not be “clearly sustainable” to justify removal as merely

“colorable.” Acker, 527 U.S. at 432 (“We therefore do not require the officer virtually to ‘win his

case before he can have it removed.’”).

          Last, National Foam plausibly alleges that it “engag[ed] in government-directed conduct

causally related to the plaintiff[’s] claims.” Sawyer, 860 F.3d at 254. To demonstrate this

“causation requirement” of removal on the basis of the federal officer statute, non-governmental

corporate defendants such as National Foam “must demonstrate that the acts for which they are

being sued . . . occurred because of what they were asked to do by the Government.” Isaacson v.



                                                  4
      2:18-mn-02873-RMG         Date Filed 08/24/22       Entry Number 2559          Page 5 of 5




Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008) (emphasis in original). This is met where there

is a “causal nexus between the allegedly tortious conduct and asserted official authority,” which

“has been interpreted broadly.” Brady v. XE Servs LLC, No. 5:09-CV-449-BO, No. 5:09-CV-450-

BO, 2010 WL 11566021, at *2 (E.D.N.C. May 18, 2010). For this, the Court looks to whether

National Foam demonstrated that its alleged acts “occurred while [they] were performing their

official duties.” Isaacson, 517 F.3d at 137-38 (emphasis in original). IAA’s claims arise out of

use of AFFF products that it claims National Foam designed, and for which the military imposes

MilSpec standards. The Court should “credit the [removing defendant’s] theory of the case” and

finds that the causation element of federal officer removal is satisfied here. Acker, 527 U.S. at 432.

See (2:22-cv-2593-RMG, Dkt. No. 35 at 35, 37) (arguing that contamination at IAA’s site was

caused, at least in part, by use of AFFF at surrounding airports which are required by federal law

to use MilSpec AFFF).

        Because the elements of § 1442(a)(1) are satisfied, entitling National Foam to have

removed IAA’s claims and National Foam’s federal defense to federal court, the Moving

Defendants’ motion to remand must be denied.

IV.     Conclusion

        For the foregoing reasons, Defendants Iselin Fire Department #9 and Iselin Fire

Department #11’s motion to remand (Dkt. No. 2524) is DENIED.

        AND IT IS SO ORDERED.


                                                      s/Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge
August 24, 2022
Charleston, South Carolina




                                                  5
